      Case 1-19-44327-ess             Doc 28       Filed 09/13/19    Entered 09/13/19 14:23:04




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------X
In re:                                                              Case No.: 19-44327-ess

                             Chapter 7
       Chukwuma Oka dba Chumarks                                    Chapter 13
       International Compan,
                                                                    Judge: Elizabeth S. Stong

                                      Debtor.
----------------------------------------------------------X



             OBJECTION TO DEBTOR’S REQUEST FOR LOSS MITIGATION


        TO:      THE HONORABLE ELIZABETH S. STONG,
                 UNITED STATES BANKRUPTCY JUDGE

        Richard Postiglione, attorney for SN Servicing Corporation as servicer for U.S. Bank Trust

National Association as Trustee of the Igloo Series IV Trust (“hereinafter SN Servicing

Corporation”), hereby affirms under penalty as follows:

                 1.       I am an Associate Attorney of Friedman Vartolo, LLP, attorneys for the

Secured Creditor.

                 2.       The Debtor filed a petition for relief under Chapter 13 of the Bankruptcy

Code on July 16, 2019.

                 3.       This Objection is submitted in response to the Loss Mitigation Request filed

on August 30, 2019 [ECF Doc. No. 24] in regard to the Premises located at 3122 Fulton Street,

Brooklyn, NY 11208.

                 4.       SN Servicing Corporation hereby objects to loss mitigation on the grounds

that the Debtor is no longer the owner of the property and holds no legal title to the Premises.

                 5.       The Debtor had two prior cases pending within the previous one-year period
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which were dismissed. On June 6, 2018, the Debtor filed a voluntary petition for relief under

Chapter 13 of the Bankruptcy Code under case 18-43315-ess. An Order dismissing the case was

entered on July 23, 2018 due to § 521 Deficiencies. The Debtor filed another voluntary petition

for relief under Chapter 13 of the Bankruptcy Code under case 18-46794-ess. That case was

dismissed via a Trustee’s Motion to Dismiss on February 25, 2019. An Order dismissing the case

was entered on April 24, 2019.

               6.      As demonstrated above the debtor had two cases pending within the

previous year which were dismissed. Therefore, according to 11 U.S.C. § 362(c)(4)(A)(i), the

automatic stay did not go into effect upon the filing of this current case.

               7.      As no stay was in place, a foreclosure sale of the concerned Premises was

conducted on July 18, 2019, whereby the property was sold to a third-party purchaser.

               8.      Pursuant to General Order #582 which sets forth the Loss Mitigation

Program Procedures in the Eastern District of New York, in order to participate in loss mitigation,

the Debtor must hold an interest in the property.

               9.      It is well established that under New York State Law, a debtor’s right of

redemption of, and interest in real property is extinguished by a foreclosure sale. A debtor does

not have an ownership interest in a property once the right to redeem is extinguished following a

foreclosure sale. Ghosh v. Fi. Fed. Sav & Loan Ass’n (In Re: Ghosh), 38 B.R. 600 603 (Bankr.

EDNY 1984); Rogers v. Cnty of Monroe (In Re: Rogers), 333 F.3d 64, 65 (2Cir.2003).

               10.     New York law is clear that “[r]edemption is not permitted after a foreclosure

sale, whether or not a deed has actually been delivered to the sale purchaser.” GMAC Mortgage

Corp. v. Tuck, 299 A.D.2d 315,316, 750 N.Y.S.2d 93,95 (2nd Dept 2002) citing Belsid Holding

Corp v. Dahm, supra. “[O]nce the sale takes place, however, the right to redeem is extinguished,
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as a matter of law, whether or not the deed has been delivered. Once the right to redeem is lost, it

cannot be revived, even by court order.” Norwest Mortgage, Inc v. Brown 2006 Ny Slip Op 09575

(2nd Dept. 2006).

               11.     Therefore, it is respectfully submitted that the Debtor is ineligible for loss

mitigation as the Debtor no longer has an interest in the Real Property.



       WHEREFORE, Movant respectfully requests that this Court deny the instant application,

in its entirety, as requested herein; and further relief that this Court deems proper.

       Dated: September 13, 2019
       Garden City, New York
                                               Respectfully submitted,
                                               FRIEDMAN VARTOLO, LLP.

                                               By: /s/ Richard Postiglione
                                               RICHARD POSTIGLIONE, ESQ.
                                               1325 Franklin Avenue, Suite 230
                                               Garden City, New York 11530
                                               Telephone: 212-471-5100
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I, Richard Postiglione, an attorney duly admitted to practice law before the District Courts of the
State of New York, respectfully certify that I am not a party to this action, am over 18 years
of age and reside in the State of New York. On September 13, 2019, I served the foregoing
Opposition by mailing the same in a sealed envelope, with postage paid thereon, in an official
depository of the United States Post Office within the State of New York, addressed to the last
known address of the addressee(s) as indicated below:

Chukwuma Oka
3122 Fulton Street
Brooklyn, NY 11208

Marianne DeRosa
Office of the Chapter 13 Trustee
100 Jericho Quadrangle
Ste 127
Jericho, NY 11753

United States Trustee
U.S. Federal Office Building
201 Varick Street, Suite 1006
New York, NY 10014

                                                              /s/Richard Postiglione
                                                              RICHARD POSTIGLIONE, ESQ.
